       Case 2:18-mc-01001-WSH             Document 611         Filed 01/07/22      Page 1 of 9



                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLYANIA




                                                          Master Docket
 IN RE DIISOCYANATES ANTITRUST                            Misc. No. 18-1001
 LITIGATION
                                                          MDL No. 2862
 This document relates to: All Actions

Hon. James C. Francis IV (Ret.)
E-Discovery Special Master

                                  Report and Recommendation

        As discussed in my previous Report and Recommendation dated August 23,ZAZ1 (he
*8/23121R&R") (ECF
                        529), this multidistrict litigation involves allegations that the defendants

conspired to reduce supply and increase prices for methylene diphenyl diisocyanate (..MDI,,)
                                                                                                  and

toluene diisocyanate ("TDI"), chemicals used in the manufacture of polyurethane foam and

thermoplastic polyurethanes. Defendants BASF Corporation, Covestro LLC, the Dow Chemical

Company, Huntsman Corporation, and Wanhua Chemical (America) Co., Ltd. (collectively, the

"defendants") now move pursuant to Rule 26(c) of the Federal Rules of Civil procedure for a

protective order permitting them to proceed with production using search terms that they have

disclosed to the plaintiffs" (ECF 582). As part of their motion, the defendants also seek an award

of attorneys' fees and costs in connection with tasks undertaken in response to the plaintiffs,

demands regmding search terms, including the costs of the current motion practice.

       The plaintiffs oppose the defendants' motion and have cross-moved under Rules 26 and

37 to compel the defendants to include additional search terms in their keyword search prior to

subjecting the resulting review set to TAR. (ECF 592); see Declaration of Sarah R. LaFreniere

dated December 15,2027 (ECF 591) at Exh. A GCf 591-1) (list of proposed additional search
       Case 2:18-mc-01001-WSH            Document 611         Filed 01/07/22         Page 2 of 9



 terms); Memorandum of Law in Support of Plaintiffs' Motion to Compel
                                                                               Defendants pre-TAR

 Application of Disputed Search Terms ("P1. Motion Memo.") (ECF 593). In the
                                                                                       alternative, the
 plaintiffs seek an order (1) directing the defendants to meet and confer in
                                                                               an effort to reach

 agreement on search terms, (2) granting me, as E-Discovery Special Master,
                                                                                  the authority to

 adjudicate any search term disputes that are not resolved by the parties, and (3)
                                                                                     requiring the
 defendants to provide me with any metrics necessary to resolve such disputes.
                                                                                    (pl. Motion
Memo. at 3-4). For the reasons that follow, I recommend that the plaintiffs' motion
                                                                                          be denied,

the defendants' motion be denied as moot, and the defendants' application for
                                                                                   an award of

expenses be denied.

Background

        The parties previously raised issues concerning the technology-assisted review (..TAR,)

methodologies and search terrns utilized by the defendants. At that time, the plaintiffs
                                                                                            moved to

compel the defendants to (1) use the plaintiffs' proposed search terms in order to identift
                                                                                                the

universe of electronically stored information ("ESI") to which the defendants would apply TAR,

and (2) use the plaintiffs' proposed methodologies for determining when to conclude the TAR

process and to validate the search. (ECf 455). The defendants cross-moved for
                                                                                     a protective order

that would allow them to rely on their own list of search terms and their own TAR

methodologies. (ECF 470).I was appointed E-Discovery Special Master with the task of

adjudicating the motions. (ECF 50a).

       While the motions were pending, I attempted to assist the parties in reaching agreement

with respect to the outstanding disputes. These efflorts were unsuccessful, and in the tl23l2l

R&R, I recommended that both motions be denied. (S/23/21R&R at27). Turning first to the

defendants' motion, I found that their proposed TAR methodology was unreasonable, first



                                                 2
       Case 2:18-mc-01001-WSH            Document 611         Filed 01/07/22     Page 3 of 9



 because the validation procedure tested recall only for the search conducted by TAR, ignoring

the documents eliminated by search terms, and, second because it failed to take advantage of the

capability of the defendants' continuous active learning ("CAL") tools to analyzethe marginal

value of conducting additional search iterations beyond a chosen stopping point. (BlL3lzl R&R

at 15-19). Next, I declined to endorse the defendants' search terms. I concluded that their

exclusive focus on hit rates was inappropriate and that they had failed to conduct systematic

testing of their proposed terms. (S/23121R&R at 19-22). Furthermore, I concluded that the

defendants had not sufficiently documented their assertion that use of the plaintiffs, proposed

search terms would impose a disproportionate burden. (8123121R&R at22-23).I therefore

recommended thal the defendants' motion be denied. (s/z3l2l R&R at}3-24).

        As to the plaintiffs' motion, I found that their proposed validation criteria exceeded what

the law requires by, among other things, incorporating an analysis of human review eror. Since

other reasonable methodologies remained available to the defendants, I declined to recommend

mandating use of the plaintiffs' protocol. (8123121R&R at24-25). Similarly,I determined that

the defendants should be permitted to identifr reasonable search terms and not be required to

adopt the plaintiffs' . (8123121Order at26).I noted that the ESI Order agreed to by the parties

and entered by the Court provided a mechanism for the parties to seek adjudication of disputed

search terms. (8/23/2l Order at26 n.5). Accordingly, I recommended that the plaintiffs, motion

to compel be denied. (8123121R&R atZT).

       The Court then gave the parties until September 3, 202l,to object to the Report and

Recommendation. The defendants responded first, but they did not object. Instead, they

announced their intention to modifu their TAR protocols to address the flaws I had identified in

the 8/23/21R&R. Specifically, the defendants used as a template amediator's recommendation



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       Case 2:18-mc-01001-WSH             Document 611         Filed 01/07/22        Page 4 of 9



that I had offered to the parties in an effort to achieve a negotiated resolution.
                                                                                     @efendants'

Response to the Special Master's Report and Recommendation ("Def. Resp. to R&R") (ECF

 532) at7-ll). Accordingly,they represented thatinthe event the parties did not agree on search

terms, the defendants would apply their chosen terms but would perform a validation analysis

that incorporated the search term phase as well as the TAR phase of ths process. (Def. Resp. to

R&R at 9-11). The defendants further committed to a process by which they would share with

the plaintiffs the number and content of responsive documents identified in the last two batches

of documents processed by TAR at the point where the defendants proposed to conclude their

search. At that point, the plaintifls would be able to seek Court review if they disagreed with the

defendants' assessment that the search was reasonably complete. (Def. Resp. to R&R at ll-12).

        The plaintiffs objected to the Report and Recommendation. They arguedthatthe Court

should adopt its reasoning, but not the final outcome, and instead implement one of three

alternative solutions: (1) grant the plaintiffs' motion, requiring the defendants to implement the

plaintiffs' TAR procedures and run the plaintiffs' proposed search terms (or forgo search terms

altogether and utilize TAR exclusively); (2) adjudicate the search terms then in dispute and

remand the parties back to me to fashion a TAR methodology; or (3) simply order the defendants

to produce allnon-privileged documents in their collections that hit on the plaintiffs' search

terms. (Memorandum of Law in Support of Plaintiffs' Objections to the Special Master's Report

and Recommendation of August 23,2021) (*P1. Obj. to R&R') at2-3). The plaintiffs argued that

"[t]he Court can, and should, ovemrle the Special Master's choice to defer to Defendants' ability

to choose new, reasonable search methodologies, and instead enter an Order prescribing

Plaintiffs' semch terms and TAR protocols now. It is well within the Court's authority to control

discovery and manage this case." (Pl. Obj. to R&R at 6).



                                                  4
       Case 2:18-mc-01001-WSH             Document 611         Filed 01/07/22      Page 5 of 9



        The Court ovemrled the plaintiffs' objections, holding that "Defendants are not

 compelled to adopt the Plaintiffs' search terms or TAR methodologies." (Opinion and Order of

 Court ("Opinion') (ECF 549) at 2). The Court further ordered:

        Defendants are to proceed, forthwith, as they have outlined in their submissions.
        Importantly, once Defendants reach a point where they believe their search is
        complete, they shall provide to Plaintiffs the following: (a) the Bates number of
        all relevant documents obtained from the last two batches searched, identify
        which of the batches these documents were found in, and identift the number of
        relevant but privileged documents withheld with respect to each of the two
        batches; and (b) the recall rate and all calculations used to derive that rate. If
        Plaintiffs agree, then Defendants may conclude their search. If Plaintiffs do not
        agree, the parties shall, after meeting and conferring, present their dispute to the
        Court for resolution by the Special Master.

(Opinion at 3). Thereafter, the parties filed the instant motions.

Discussion

        A. Plaintiffs' Motion to Compel

        As noted above, the plaintiffs seek an order requiring the defendants to utilize their

proposed search terms or, alternatively, establishing a process by which disputed search terms

may be adjudicated. That ship has sailed. To be sure, the 8123/21R&R left open the prospect of

further litigation of search terms since, on the one hand, it declined to bless the defendants, terms

as insuffrciently tested, and, on the other hand, refused to endorse the plaintiffs' terms as the only

reasonable altemative. (8/23/21R&R atZA-22,26). Andit specifically referenced the term in the

ESI Order providing for resolution of search term disputes. (8123/21R&R at 26 n.5). But any

window of opportunity for further adjudication of search terms prior to the application of TAR

closed when the Court directed the defendants to "proceed, forthwith, as they have outlined in

their submissions." (Opinion at 3). That procedure specifically allows the defendants to rely on

search terms of their choosing subject to "end-to-end" validation * a process that assesses the

quality of review over both the search term and TAR review stages.
       Case 2:18-mc-01001-WSH               Document 611        Filed 01/07/22      Page 6 of 9



           At oral argument on this motion, the plaintiffs suggested two justifications for revisiting

the search term dispute now. First, they contend that by adopting my mediation proposal in their

discovery protocol, the defendants incorporated my caveatthat "[t]he proposal is necessarily

general," in part because it was designed to "leave the parties flexibility to negotiate the details.,,

(Letter of James C. Francis IV dated July 12,2021 ("Proposal"), attached as Exh. D to Alden L.

Atkins dated September 3,2021("Atkins Decl.") (ECF 532-1). From this, the plaintiffs infer that

the modified search protocol that the defendants proffered to the Court anticipated further

litigation conceming search terms at this time. Not so. In presenting their amended methodology

to the Court, the defendants made clear at least twice that while they were amenable to

discussing revised search terms with the plaintiffs, their proposal contemplated no further

adjudication until the defendants deemed their search complete. In their brief, they said:

        In short, Judge Francis's Proposal provides an elegant solution to the search term
       dispute. Rather than requiring the Court or Special Master to undertake a tedious
       term-by-term analysis of individual search terms, Judge Francis's proposal allows
       the producing party to select the search terms tbatitwill use, consistent with that
       party's obligations under Rule 26, while also shifting onto the producing party all
       risk associated with using unduly turrow search terms.

(Def. Resp. to R&R at l1). And, in a supporting declaration, defendants' counsel argued

that "[a] benefit of Judge Francis's proposal is that it would avoid the need for the Court

utd/or the Special Master to determine which search terms should be used by

Defendants." (Atkins Decl, tf l9). These were the provisions that were "outlined in
                                                                                        lthe

defendants'] submissions," and under which the Court authorized the defendants to

proceed.

       The plaintiffls also contend that by referring their current motion to me for a report

and recommendation, the Court was intimating that I should adjudicate the merits of the

search term disputes that they raised. No such inference is warranted. The reference of a
        Case 2:18-mc-01001-WSH             Document 611         Filed 01/07/22      Page 7 of 9



 motion, without ffiore, does not suggest that a full merits review is expected. Rather, a

 referred motion may just as easily be subject to determination on procedural grounds,

 such as timeliness, or, like here, on the basis of apior decision.

        While the Court's Opinion forecloses the plaintifPs cunent motion, it does not immunize

the defendants' production from challenge at the end of the day. Indeed, the Opinion provides a

method for resolving any dispute over the reasonableness of the defendants' search, and that

includes any deficiencies that might result from inadequate search terms, a faulty TAR process,

or any other source. (Opinion at 3). As the defendants note, this creates a powerful incentive for

them not to use unduly narow search terms. (Def, Resp. to R&R at 11). Thus, if at the point

where the defendants seek to halt their search, the plaintiffs identify search term inadequacies

that rendered the search unreasonable, remedies will be available. But the Court was clear:

production needed to proceed immediately on the basis of the protocol outlined by the

defendants in response to the 8/23/21R&R.

        The plaintiffs' motion to compel should therefore be denied.

        B. Defendants' Motion for a Protective Order

        The defendants move for a protective order "to permit Defendants to use the search terms

they have disclosed to Plaintiffs for reviewing and producing electronically stored informatiorl

and to deny Plaintiffs' implicit request for reconsiderutionof their Motion to Compel Defendants

to use certain search terms (ECF No. 455), which the Court denied (ECF No. 549).,,

(Defendants' Motion for a Protective Order Regarding Defendants' Search Terms) (ECF 582). In

opposing the motion, the plaintiffs contend that the defendants have failed to demonstrate ..with

specificity" that they will suffer a "clearly defined and serious injury" if the requested order is

not granted. (Memorandum of Law in Opposition to Defendants' Second Motion for aprctective



                                                  7
       Case 2:18-mc-01001-WSH             Document 611        Filed 01/07/22      Page 8 of 9



Order (ECF 589) at 7) (quoting Pansy v. Borough of Stroudsburg,23 F.3d 772,796-97 (3d Cir.

 1994)). But, as discussed above, the relief sought by the plaintiffs is precluded by the prior order

of the Court. Under these circumstances, the defendants haye an interest in enforcement of that

order and need not show harm beyond the prejudice that is inherent when the finality of a court

order is undermined. See Tyler v. City of San Diego,No. 14-cv-01I79-GPC-JLB, 2015 WL

1956434, at *2 (granting protective order against discovery denied in prior order without

discussing any additional harm). In any event, the defendants' motion for a protective order is

functionally the mirror image of the plaintiffs' motion to compel. For that reason, the defendants,

motion should be denied as moot insofar as it seeks the same relief that necessarily flows from

denial of the plaintiffs'motion. See, e.g., Bachmanv. Bachman No. 8:19Cv276,2021wL

1060543, at *10 n.6 (D. Neb. Marchl9"202l) (denying motion to compel and then denying

mirror image motion for protective order as moot); State Farm Mutual Automobile Insurance Co.

v. New Horizonf, lnc.,254 F.R.D. 227,233 n.4 (8.D. Pa. 2008) (granting motion for protective

order and then denying counterpart motion to compel as moot).

        The defendants also seek an award of attorneys' fees and costs. Pursuant to Rule

37(a)(5)(B) of the Federal Rules of Civil Procedure, a court must award expenses, including

attorneys' fees, to aparty that prevails on a motion to compel or a motion for a protective order

unless the losing parfy's position was substantially justified, or other circumstances would make

the award unjust. Here, the plaintiffs' position was substantially justified even though they did

not prevail.The 8/23/21 R&R did not preclude further litigation over search terms, since all it

did was deny both parties' original motions. What the plaintiffs failed to appreciate was that the

Court's Opinion did more than simply adopt that Report and Recommendation; it gave the

defendants leave to proceed with their chosen search terms. But given the fact that the



                                                 8
      Case 2:18-mc-01001-WSH              Document 611           Filed 01/07/22     Page 9 of 9



                                                                                             R&R and
                                              in the midst of the appeal from the sl23l2l
defendants, modified protocol was adopted

                                                  the plaintiffs' misapprehension is understandable
was not the subject of full, separate briefing,

and does not warrant an awxdof expenses.
                                                  Moreover, in response to the plaintiffs' motion

practice, the defendants engaged in more robust testing
                                                             of search terms and more fulsome

                                                    previously. The information thus obtained will
analysis of their discovery costs than they had
                                                                     and in any further adjudication of
likely prove valuable in future diseussions between the parties

the adequacy ofthe defendants' search'

Conclusion

        For the reasons discussed above, I recommend that the plaintiffs' motion
                                                                                       to compel (ECF

                                                                                         as moot, and
592) be denied, the defendants' motion for a protective order (ECF 582) be denied

the defendants' application for an award of expenses, including attorneys' fees, be denied.

                                                   Respectfully Submitted,




                                                       James C. Francis IV
                                                     -Discovery Special Master

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